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                       IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                                BEAUFORT DIVISION

 UNITED STATES OF AMERICA
                                                            Case No.: 9:22-cr-00658-RMG
        v.

 RUSSELL LUCIUS LAFFITTE,

                    Defendant.



         DEFENDANT’S CONSENT MOTION FOR AN EXTENSION OF TIME
                  TO OBJECT TO PRESENTENCE REPORT

       Defendant Russell Lucius Laffitte (“Mr. Laffitte”), by and through his undersigned

counsel, respectfully requests an extension of 30-days’ time to file objections to the Draft

Presentence Investigation Report (“Draft PSR”). The government, through Assistant United States

Attorney Emily Limehouse, consents to this request. As such, undersigned counsel consents to the

30-day extension applying to both parties, should it be granted by the Court.

       On March 27, 2023, undersigned counsel and counsel for the government received a 63-

page Draft PSR from the United States Probation Office. Therefore, pursuant to Federal Rule of

Criminal Procedure 32(f)(1), objections to the Draft PSR are currently due on April 10, 2023 –

14 days from the receipt of the revised Draft PSR. However, due to the complexity and length of

the Draft PSR, the fact that a Motion for New Trial (ECF No. 274) is currently outstanding, and

other trial obligations, Mr. Laffitte respectfully requests an extension of an additional 30 days to

make such objections until May 10, 2023.

       First, as noted above, the Draft PSR is 63 pages and contains very detailed and complex

information regarding Mr. Laffitte and his case. There are a number of factors that are taken into
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account for the loss amounts and possible enhancements in this case. In order to submit appropriate

and fulsome objections, undersigned counsel will need additional time.

         Further, there is currently a Second Motion for New Trial that is pending before this Court.

See ECF No 274. The government, after receiving an extension of time to file their response (see

ECF Nos. 278 and 279), opposed this Motion. See ECF No. 280. Undersigned counsel notified the

Court of its intention to file a reply and sought leave from this Court to do so. See ECF 284. The

Court granted this request for leave to file a reply and allowed until April 3, 2023 to file such a

reply. See ECF No. 285. As the briefing on this Motion has not yet concluded, and Mr. Laffitte

has requested a hearing on the merits, it is premature to file objections to the Draft PSR at this

time.

         We respectfully submit that the Draft PSR is also incomplete because Mr. Laffitte’s

accountant has not yet provided the full and complete financial statement to undersigned counsel.

While the appropriate forms have been provided to Mr. Laffitte’s accountant, Mr. Laffitte’s

financial situation is somewhat complicated at this point and additional time is needed to complete

these forms.

         Finally, undersigned counsel, has significant trial obligations in the intervening time period

between this filing and the current deadline. Undersigned counsel must represent two witnesses at

a lengthy trial in the District of Connecticut in front of the Honorable Victor A. Bolden. See United

States v. Patel, No. 3:21-CR-220 (VAB) (D. Conn.). Undersigned counsel will have to make at

least two, and possibly more, trips to Bridgeport, Connecticut to represent pre-existing clients, who

are being called as witnesses for the government. The government has not yet provided

undersigned counsel the exact dates these witnesses will be needed, but the expectation is they will




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 be testifying in the month of April, with the first such witness tentatively scheduled to testify the

 week of April 10, 2023.

        For the reasons listed above, and with the consent of the government, Mr. Laffitte

 respectfully requests an extension of an additional 30 days to submit objections to the Draft PSR.

 Mr. Laffitte also believes the government should be afforded the same extension.



                                                Respectfully submitted,

                                                s/Mark C. Moore
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March 31, 2023
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